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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

SHARON K. RANKIN,                   )
                                    )
                Plaintiff,          )               7:08CV5005
                                    )
          v.                        )
                                    )
W. K. STETSON, M.D.,                )                  ORDER
A licensed Physician,               )
C. A. SUTERA, M.D.                  )
A licensed Physician,               )
CHADRON MEDICAL CLINIC, P.C.,       )
A Nebraska Professional             )
Corporation, and                    )
DOES I-X, inclusive,                )
                                    )
                Defendants.         )


     IT IS ORDERED:

     Plaintiff’s motion for time, filing 9, is granted and
plaintiff is given to July 17, 2008 to respond to defendant’s
motion for remand.


     DATED this 14th day of July, 2008.

                                  BY THE COURT:


                                  s/    David L. Piester
                                  David L. Piester
                                  United States Magistrate Judge
